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                                                                                             FILED IN CLERK'S OFFICE
                                                                                                 U.S.D.C. Atlanta
                    CIVIL RIGHTS COMPLAINT PURSUANT TO 42 U.S.C. § 1983,
                                                                                                FEB - 5 2018
                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA                         ~~ H~1:,.E~ C~r~,.
                                                                                              . \_.) \J.JJ'-fJ~e';k


Ab"eV& Btl:              ToH~GtES LoPct         unr""
(Enter above the full name and prisoner                                         1 18·CV-057l
identification number of the plaintiff, GDC
number if a state prisoner.)

                            -vs-

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Pcir~r l tfecui JltJq, fA1ttCK ffEBb
Rei'o<u.cc. geq-br\ ~/4 PtBECC/\ KEATDt\l
(Enter above the full name of the defendant(s).)

I.           Previous Lawsuits
             A.    Have you filed other lawsuits in federal court while incarcerated in any institution?

                                    Yes(ti("       No0

            B.      If your answer to A is yes, describe each lawsuit in the space below. (If there is
                    more than one lawsuit, describe the additional lawsuits on another piece of paper,
                    using the same outline.)

                    1.      Parties to this previous lawsuit:

                            Plaintiff(s):


                            Defendant(s): - - - - - - - - - - - - - - - - - - - -


                    2.      Court (name the district):



                    3.      Docket Number:


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I.         Previous Lawsuits (Cont'd)

                   4.      Name of judge to whom case was assigned: - - - - - - - - - - - -

                   5.      Did the previous case involve the same facts?

                                           Yes (   )      No(ri

                   6.      Disposition (Was the case dismissed? Was it appealed? Is it still pending?):



                   7.     Approximate date of filing lawsuit:

                   8.     Approximate date of disposition:


II.        Exhaustion of Administrative Remedies
           Pursuant to 28 U.S.C. § 1997e(a), no prisoner civil rights action shall be brought in federal
           court until all available administrative remedies are exhausted. Exhaustion of administrative
           remedies is a precondition to suit, and the prisoner plaintiff must establish that he has exhausted
           the entire institutional grievance procedure in order to state a claim for relief.

           A.     Place of Present Confinement:            Caffee. COl.>f\±v( wr~d~~ &!flit-tr
                                                                                         I

           B.      Is there a prisoner grievance procedure in this institution?

                                   Yes (   )       No(/

           C.     Did you present the facts relating to your complaint under the institution's grievance
                  procedure?

                                  Yes (    )       No(~
           D.     If your answer is YES:
                   1.     What steps did you take and what were the results?




                  2.      If your answer is NO, explain why not:
                           (e(eif<.of   i 5$QC


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III.        Parties
            (In item A below, place your name in the first blank and place your present address in the
            second blank.)

            A.     Name of Plaintiff:




                   Address(es): Cle    1153 Nortk L,be£'1 Struf-
                                     Nie.holts .' 6e.crf" 31 ~54


            (In item B below, place the full name of the defendant in the first blank, his/her official
            position in the second blank, and his/her place of employment in the third blank. Do the
            same for each additional defendant, if any.)

            B.     Defendant(s):    COS!) Co.>Nry SUPtRioR Coue.-r                     6~\oyeeSj
                    11 eno efh 0 . N•x 1 Pitlricl. HeuJ J ~e1,ecc"    l~t01\


                   Employed as     6166 CourlTY             SUP€&r~          lCJ.$T Ef\'\ploY«S



IV.         Statement of Claim
            State here as briefly as possible the facts of your case. Describe how each defendant is
            involved. Include also the names of other persons involved, dates, and places. Do not give any
            legal arguments or cite any cases or statutes. If you intend to allege a number of related
            claims, number and set forth each claim in a separate paragraph. (Use as much space as you
            need. Attach extra sheets if necessary.)
            This Aj!JC'"'"'· Pi:.tbf W4~ i""'9r\SDv\td ~Y\ ik   Cc&B CruN1'Y DerEtJ 1It;tJ ~b




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            IV.        Statement of Claim (Cont'd)

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V.         Relief
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           no cases or statutes.
            WHERE FC>tf > fE1:!TLoNE. P&AYS :




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            V.      Relief (Cont'd)
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            Signed this _ _ _ _ day of           Fe. V.l C
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STATE OF          GEOR.61.f>.r
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COUNTY (CITY) OF ........C

I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED ON               ~ -       f - \~
                           (Date)




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   preb~ble.. c..c...vtt. 1 w-,~°'* ~Jkor~t.(   J' (t;w   (jf"   JUf\sd.~t..t~, ~g+~tut~,
   K\Jt\C\Wl"j ""). u,'\l'\iJ.fv( LMfr\.SOi\MM~ [c..~.~ ~q\~ :r""'ef)S~(~)' Th.~
   w~~',.-.5tnf\ ~olV"'\i\IS-tt~i-k. CoJ~ (WAl.) :J.0'1- ;)Jp-40 ~s: No
   pr\SOf\U"" s~~l( 'b{ CO'l\+\~ w~~\- ~Cofd \~~( au~;"'i / K~dt\a~pl~j
                                                                    1


   ow,cl U"l°'vJ.flvl r"-'e<\SO'\~ c.ce Cf\~5 v"cler Gl.oC'f"' Sess~OV\ lt;w ..

         "R~s A:~jr\~~ Pc.c--\.y ~!> 1~nSonul ~~ -k Co&B CbuNrY
  DEIE:NTiotJ ANb CC>R.~EC 1.:C()N C.lAJTE\L c». Cl<" a'o~ -\k 4-H.. cAc.t                      ot
  .J~uo.<l, ;ioo.s / ~ Sevt.n~\ "'o"N ~u~ ue.s ~ de.\\ve1eJ 'l"'to ~
  C.vst~y ot ~ GEOl(6IA- STAIE DEeAtTf\\ENT Of= CQAAElT!~S
   ttt- GA-Rbf'N    c:rrrGEO(l.{)If\. Ru{ e:f'-kr I ~\S "11r;c11t) QA(-\y W'i5 tF~.ukrrJ
                            I


   t-o   COlff [    COONry STATE ~OOTE~TIA<i.Y t:+ (i.l:r:C\ibLLS, Cit6~6JA ,uleJC
  tl\s  A1:l~evc.J r~y ~~ 'b&f\ CoY\+;nJtl\~ Je~a~tJ., {!,d~dy} -,V\ fttruJ.s h CtfSB
  COof\J1Y ta.l)Je..(S)-tt-~1, bS-l~-78Ito1lL d~k rf                     '"' s
                                                                    .0.\\\"J of R\5
  (tNDTfCE Cf 0FtIC1AL RECDRD EN1Q..~ Sr. ~l\\ME.UI~l AB=Xtl~\/Il 11
  ~bscW\t- Pn~p.et Pa('.\-~t5 1 Lc.wfvl ~vr~SJ\d\t>V\ a(tcl Pr6~r ~e.r\l\t( 6.C. fcC>ce5S   '
  s+".\cot   ~(.f(..i ~.
           lk~ A1~r\eveJ Pac+y wc.s Qf\J is KlJ"at>PeJ 4'\.J U"lo.w.fuHy/
  l=".q(sdy Tf\\pri5t>Y\~J I de+a lr\t.J. titlJ Je-v\;~J rr1v~+c ~(o~~ ai\J. O~(
  5eL.vrJ f!v~M~+~l f<.~ft~ / w'1\\.-oo+ tlve proc.ess o+ \""-' /~V\ v\o\o.tl'OV'. ot
 +LL G;eoc-7iew Cv(\s+:t~~O'Y\ CV\J ul\~+tJ g+ei+es LaV\s+-JtA~rN\ Af{\£.k I, 1,
 etf\J (p 1 AMewA/lq(,i\h t{J 5J l9 J 'i' / IDr It, I1 anJ ~~. Av\~ N l~'"Acl\bvt fri-r
 ~0. lJ<\f\-eJ 5'+des ef A~c~l.~ [\"10't) / &i:) ~,,.J~ loy ~ ~:ll J R1~+s1 Art1dt11"'" x:cz:,_
NOTICE OF OffIC.I. AL Rt:lo°'t>
EtJ1ty ~ ~OMMERL~ AFF.IhAvr-r
